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                                     UNITED STATES DISTRICT COURT
 9                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
10
      UNITED STATES OF AMERICA,
11
                             Plaintiff,
12                                                                 CASE NO. CR05-0231C
             v.
13                                                                 ORDER
      GEORGE WEGERS, et al.,
14
                             Defendants.
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16          This matter comes before the Court on the Joint Motion for Status Conference (Dkt. No. 602)

17   filed or joined by thirteen of the twenty-eight defendants in this matter. Having considered Defendants’

18   motion in light of the complete record in this case, and finding oral argument unnecessary, the Court

19   DENIES the motion for the following reasons.

20          Defendants request a status conference this week to address several scheduling issues, including

21   the conflicting views among various factions of defendants for and against a continuance of pretrial and

22   trial dates as to particular counts. The government responds that it has offered plea deals to many of the

23   defendants that expire within two weeks and that, as a result, it expects to have reached resolution with a

24   number of defendants before the November 17, 2005 pretrial motions deadline. The government further

25   states that it anticipates presenting a Second Superseding Indictment to the grand jury in early December.

26   ORDER – 1
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 1          Given the potentially limitless views and conflicts among the defendants as to which counts should

 2   go to trial in January and which should be continued, as well as the pending plea deals, the Court is not

 3   inclined to a convene a mass status conference at this time. Any party is, of course, free to file motions to

 4   continue any pretrial or trial dates as to any of the thirty-six counts in the First Superseding Indictment.

 5   The parties may also, as suggested by the government, inform the Court that they will stipulate to

 6   settlement conferences presided over by a district judge.

 7          In the absence of such fully briefed motions, however, the Court cannot and will not speculate as

 8   to the specific interests of such a large and potentially diverse group of defendants. Accordingly, the

 9   motion for a status conference is DENIED without prejudice.




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10          SO ORDERED this 7th day of November, 2005.

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                                                    UNITED STATES DISTRICT JUDGE
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26   ORDER – 2
